                  Case: 4:20-mj-07180-SPM Doc. #: 1 Filed: 05/31/20 Page: 1 of 1 PageID #: 1

     AO 9 l (Rev. ll/ll) Criminal Complaint


                                           UNITED STATES DISTRICT COURT
                                                                            for the
                                                    EASTERN DISTRICT OF MISSOURI

                       United States of America                                )
                                     V.                                        )
                                                                               )       Case No. 4:20 MJ         7180 SPM
                          MICHAEL J. AVERY
                                                                               )
                                                                               )
                                                                                      SIGNED AND SUBMITTED TO THE COURT FOR
                                                                               )
                                                                                      FILING BY RELIABLE ELECTRONIC MEANS
                                                                               )
                                Defendant(s)


                                                         CRIMINAL COMPLAINT
                I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
     On or about the date(s) of                       May 30, 2020                    in the county of             County of St. Louis       in the
             Eastern         District of             Missouri             , the defendant(s) violated:

                  Code Section                                                            Offense Description

     18:2101                                           Rioting




                This criminal complaint is based on these facts:
                                                             SEE ATIACHED AFFIDAVIT




                0 Continued on the attached sheet.
I state under the penalty of perjury that the foregoing is true and correct.                           ~               _ ~~- -- -+-- -- -

                                                                                       ~ o m p l a i nt'ssignature
                                                                                                            Ryan Monahan, SA, F
                                                                                                              Printed name and title
  Sworn to, attested to, or affirmed before me via reliable electronic means pursuant to Federal Rules of Criminal. Procedure 4.1 and 41 .




     Date:
                       05/31/2020
                                                                                        ...~~-                  Judge 's signafure

     City and state:                          St. Louis, Missouri                       Honorable Shirley Padmore Mensah, U.S. Magistrate Judge
                                                                                                              Printed name and title
